Case 2:18-cr-20559-NGE-MKM ECF No. 36 filed 06/05/19         PageID.199    Page 1 of 3


                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                          Plaintiff,          Case No. 18-20559
vs.
                                              HONORABLE NANCY G. EDMUNDS
D-2 NASSIF SAMI DAHER,

                          Defendant.
                                 /

  MOTION TO EXCEED PAGE LIMIT FOR GOVERNMENT’S BRIEF IN
   REPONSE TO DEFENDANT’S MOTION TO DISCOVER EVIDENCE
      SECURED PURSUANT TO THE FOREIGN INTELLIGENCE
 SURVEILLANCE ACT OF 1978, AS AMENDED BY 50 U.S.C. §§ 1801 - 1802

      The United States, through its undersigned attorneys, hereby moves this

Court, pursuant to Local Rule 7.1(d)(3)(A), for an order permitting the government

to file a brief in response to the defendant’s Motion to Discover Evidence Secured

Pursuant to the Foreign Intelligence Surveillance Act of 1978, as Amended by 50

U.S.C. §§ 1801 – 1802, (Doc. 28), in excess of the twenty-five page limit.

      In its motion, the defendant “moves to discover all evidence, intelligence,

counter-intelligence, FISA Application, FISA Order, and all information thereto

concerning surveillance of defendant, and the national security justification for all

governmental actions.” Doc. 28 at 3. In support of its broad request, the

defendant raises a number of arguments. In addition, although defendant’s motion

is entitled a motion to discover evidence obtained through FISA, there are

references to suppression of FISA evidence, as well, and arguments in support of
Case 2:18-cr-20559-NGE-MKM ECF No. 36 filed 06/05/19         PageID.200     Page 2 of 3


that relief. The government’s brief in response, therefore, addresses the

defendant’s arguments for suppression in addition to those advanced for disclosure

of FISA-related materials and evidence.

      The defendant’s motion involves issues relating to a statute that is not a

common focal point of litigation. Explanatory material relating to the statute and

its operation comprise a significant portion of the government’s brief. Some of

the issues raised by the defendant are complex and require in depth treatment. For

these reasons, and in order to properly and fully respond to the defendant’s motion,

the government has written a brief that is eighty-two pages in length.

      The government sought the concurrence of defense counsel in this request

but had not received a response as of the time of filing.

      WHEREFORE, the United States requests that the Court grant its motion

and permit it to file a brief in response to the defendant’s motion in excess of

twenty-five pages in length.

      Respectfully submitted,

      MATTHEW SCHNEIDER
      United States Attorney

      s/Craig A. Weier (P33261)               s/Cathleen Corken
      Assistant U.S. Attorney                 Assistant United States Attorney
      211 W. Fort Street, Suite 2001          Chief, National Security Unit
      Detroit, Michigan 48226                 211 W. Fort Street, Suite 2001
      Phone: (313) 226-9678                   Detroit, Michigan 48226
      E-Mail: craig.weier@usdoj.gov           Phone: (313) 226-0206
                                              E-Mail: cathleen.corken@usdoj.gov

      Dated: June 4, 2019
Case 2:18-cr-20559-NGE-MKM ECF No. 36 filed 06/05/19       PageID.201    Page 3 of 3




                   CERTIFICATE OF SERVICE

       I hereby certify that on June 5, 2019, I electronically filed the foregoing
document using the ECF system, which will send notification of filing to the counsel
of record.


                                s/Cathleen M. Corken
                                Assistant U.S. Attorney
